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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


DEARREA KING,
                                                        Case No. 2:18-cv-1060
                     Plaintiff,                         Judge Edmund A. Sargus, Jr.
 v.

CITY OF COLUMBUS, et al.,

                     Defendants.

                                         NOTICE


        TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
set forth below:

Place: United States District Court
       Joseph P. Kinneary U.S. Courthouse               Chambers (Jury Room)
       85 Marconi Boulevard                             1/10/2023 at 1:30 p.m.
       Columbus, Ohio 43215

TYPE OF PROCEEDING: Mediation




                                          EDMUND A. SARGUS, JR.
                                          UNITED STATES DISTRICT JUDGE
DATE: January 7, 2023

                                             /s / Christin M. Werner
                                          (By) Christin M. Werner, Deputy Clerk
